Case 1:14-cr-00189-DAD-BAM Document 103 Filed 08/27/15 Page 1 of 6
Case 1:14-cr-00189-DAD-BAM Document 103 Filed 08/27/15 Page 2 of 6
Case 1:14-cr-00189-DAD-BAM Document 103 Filed 08/27/15 Page 3 of 6
Case 1:14-cr-00189-DAD-BAM Document 103 Filed 08/27/15 Page 4 of 6
Case 1:14-cr-00189-DAD-BAM Document 103 Filed 08/27/15 Page 5 of 6
Case 1:14-cr-00189-DAD-BAM Document 103 Filed 08/27/15 Page 6 of 6
